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 September 22, 2023

 Honorable Ann M. Donnelly
 U.S. District Court—
 Eastern District of New York
 225 Cadman Plaza E.
 Brooklyn, NY 11201

 Re: Douglass Mackey

 Dear Judge Donnelly,

       My name is Valery Rodolico. I am a legal Proofreader Workflow Coordinator at
 Wachtell, Lipton, Rosen & Katz.

         I served on the jury of Mr. Mackey’s trial, and based on the evidence reviewed and Mr.
 Mackey’s testimony, I believe that, though he made one grave error in judgment (“two clicks”),
 he is by no means a hardened criminal and does not belong in prison.

         It is my belief that Mr. Mackey acted impulsively, as a passionate twenty-four-year-old
 aspiring political advocate, and was swept away by Twitter-sphere fame under his avatar persona
 Ricky Vaughn. I also strongly believe he was not the mastermind behind the crime, and the
 other Twitter group members used him and his notoriety to further their cause.

         At the time of his arrest, Mr. Mackey had gone through intense therapy and met his
 future wife, and during the trial found out they were expecting their first child. I found his
 testimony sincere and credible, and I believe he has matured since his arrest and expresses
 genuine regret for the pain this has caused. To lock him away is unfair to Mr. Mackey, his wife,
 and future children, who I believe he will have a positive influence on. I respectfully request
 that you consider no jail time. Mr. Mackey is an intelligent and caring young man who would
 benefit far greater from community service.

 Sincerely,


 Valery Rodolico
